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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION



 WAYNE DARNELL JOYNER,

       Petitioner,
                                                        Case No. 05-80955-34
 v.                                                     Hon: AVERN COHN

 UNITED STATES OF AMERICA,

      Respondent.
 ___________________________________/



                            ORDER DENYING MOTION FOR
                     THE PRODUCTION OF EXCULPATORY EVIDENCE


       Defendant has filed a Motion for the Production of Exculpatory Evidence (Doc.

 1349). The government, in its response (Doc.1359) says:

 C     No case citation or Court Rule allows for consideration of such a motion long after

       a conviction becomes final. (Defendant pled guilty on November 21, 2007, and on

       August 21, 2008, defendant was sentenced.)

 C     The disclosure requirements under Brady v. Maryland, 372 US 83 (1983), do not

       continue after conviction, and a case closed.

 C     United States v. Ruiz, 536 US 622 (2002), says that exculpatory or impeaching

       material need not be produced before a guilty plea. Therefore, after a plea was

       entered, such material need not be produced.

 C     The government says that defendant received full discovery prior to the entry of his
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 C     guilty plea, and that “. . .the information [defendant] seeks has either already been

       tendered to him or does not exist.”

       Accordingly, the motion is DENIED.

       SO ORDERED.


                                           s/Avern Cohn
                                          AVERN COHN
                                          UNITED STATES DISTRICT JUDGE


 Dated: August 25, 2011


 I hereby certify that a copy of the foregoing document was mailed to Wayne Darnell Joyner,
 40683039, FCI - Lompoc, 3600 Guard Rd., Lompoc, CA 93436 and the attorneys of record
 on this date, August 25, 2011, by electronic and/or ordinary mail.


                                           s/Julie Owens
                                          Case Manager, (313) 234-5160




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